          Case 23-34815 Document 847 Filed in TXSB on 12/04/24 Page 1 of 3




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re:                                      §
                                             §
 GALLERIA 2425 Owner, LLC                              Case No. 23-34815 (JPN)
                                             §
                                             §         Chapter 11
                Debtor.                      §
                                             §


          EXHIBIT LIST FOR DECEMBER 5, 2024 EMERGENCY HEARING ON
         EMERGENCY MOTION TO ENFORCE SALE ORDER AND MOTION FOR
                               CONTINUANCE

     Jetall Companies, Inc. and 2425 WL, LLC file this Witness and Exhibit List for the

emergency hearing to be held December 5, 2024 at 9:00 a.m. (prevailing Central Time) (the

“Hearing”) on (1) NBK’s (Renewed) Emergency Motion to Enforce Sale Order (Jetall

Companies, Inc.) (ECF No. 838) and (2) NBK’s Second Emergency Motion to Enforce Sale

Order (2425 WL, LLC) (ECF No. 839).

                                         WITNESS LIST

      Jetall Companies, Inc. and 2425 WL, LLC may call the following witnesses at the Hearing:

      1.      Any witness called by any other party.

      2.      Any witness necessary to rebut the testimony of any witness designated by another
              party.



 Exhibit                   Description                    Offer Object Admit Disposition

    1.      Affidavit of Marc Hill; ECF No. 825-1

  1-A.      Defendant Jetall Companies, Inc. First
            Amended and Supplemental Answer to
            Plaintiff’s Petition ECF No. 825-2

  1-B.      Notice to Vacate Letter dated November
            18k, 2024; ECF No. 825-3

    2.      Order of Disqualification in Case No.
            241100353166; ECF No. 825-4
         Case 23-34815 Document 847 Filed in TXSB on 12/04/24 Page 2 of 3



    3.       Motion Hearing Transcript dated
             November 13, 2024, No. 4:24-cv-3224
             (S.D. Tex.); ECF No. 825-5

    4.      Order Remanding Adversary Proceeding, No.
            24-03224 (Bankr. S.D. Tex.)


    5.      Jetall Companies, Inc. Lease Agreement
            dated May 13, 2024


            Any exhibit identified or offered by any other
            party.


            Any exhibit necessary for impeachment
            and/or rebuttal purposes.



                                   RESERVATION OF RIGHTS

         Jetall Companies, Inc. reserves the right to call or to introduce one or more, or none, of the

witnesses and exhibits listed above, and further reserve the right to supplement this Witness and

Exhibit List before the Hearing.

DATED: December 4, 2024                      Respectfully submitted,
                                             /s/ J. Carl Cecere
                                             J. Carl Cecere
                                             Texas Bar No. 24050397
                                             (admitted pro hac vice)
                                             Cecere PC
                                             6035 McCommas Blvd.
                                             Dallas, Texas 75206
                                             Tel: 469-600-9455
                                             ccecere@cecerepc.com




                                                   2
         Case 23-34815 Document 847 Filed in TXSB on 12/04/24 Page 3 of 3



                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on December 4, 2024, a true and correct copy of the foregoing
was served via the Court’s CM/ECF system to all parties who are deemed to have consented to ECF
electronic service, and via email to those listed below.


Charles C. Conrad
Ryan Steinbrunner
Pillsbury Winthrop Shaw Pittman LLC
Main Street Suite 2000
Houston, TX 77002
charles.conrad@pillsburylaw.com
ryan.steinbrunner@pillsburylaw.com -

Andrew M. Troop
Patrick E. Fitzmaurice
Kwame O. Akuffo
Pillsbury Winthrop Shaw Pittman LLC
31 West 52nd Street New York, NY 10019-
6131 Telephone: (212) 858-1000 Facsimile:
(212) 858-1500
andrew.troop@pillsburylaw.com
patrick.fitzmaurice@pillsburylaw.com
kwame.akuffo@pillsburylaw.com




                                                /s/ J. Carl Cecere
                                                J. Carl Cecere




                                                 3
